        Case 1:24-cv-02002-NCM-VMS Document 4 Filed 03/19/24 Page 1 of 2 PageID #: 15

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                  Eastern District
                                                __________         of of
                                                            District  New  York
                                                                         __________

                    NORMA VALENCIA,                              )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                      Civil Action No. 1:24-cv-02002 NCM-VMS
                                                                 )
         TAQUERIA LA NORTENA CORP.,                              )
    GUILLERNO LOPEZ, and ANGELICA LOPEZ,                         )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Taqueria La Nortena Corp.,        Guillerno Lopez         Angelica Lopez
                                       The Corporation               12-10 27th ave, Fl.2    The Corporation
                                       688 Manhattan Ave             Astoria, NY 11102       688 Manhattan Ave
                                       Brooklyn, NY 11222                                    Brooklyn, NY 11222




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Daniel Maimon Kirschenbaum, Esq
                                       Joseph and Kirschenbaum, LLP
                                       32 Broadway Suite 601
                                       New York, NY 10004
                                       (212)688-5640
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                           BRENNA B. MAHONEY
                                                                           CLERK OF COURT


Date:    03/15/2024                                                        s/Kimberly Davis
                                                                                      Signature of Clerk or Deputy Clerk
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 Civil Action No. 1:24-cv-02002 NCM-VMS

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
